









Dismissed and Memorandum Opinion filed May 18, 2006









Dismissed and Memorandum Opinion filed May 18, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00416-CR

____________

&nbsp;

WILLIAM LYNN WILKINSON,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
262nd District Court

Harris County, Texas

Trial Court Cause No. 1039217

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of
murder.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, the trial court sentenced appellant on
March 15, 2006, to confinement for forty (40) years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 18, 2006.

Panel consists of Justices
Anderson, Edelman, and Frost. 

Do Not Publish C Tex. R. App. P. 47.2(b)





